Case 3:25-cv-00514-AB   Document 1-3   Filed 03/26/25   Page 1 of 6




                  EXHIBIT 3
                                                                                      Case 3:25-cv-00514-AB                                            Document 1-3                      Filed 03/26/25            Page 2 of 6
                             https://www.legitscript.com/certification/healthcare-certification/standards/                                                                                                                       November 14, 2024, 5:24 p.m. ET




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                                                                                   HEALTHCARE CERTIFICATIO N




                                                                                   Standards
                                                                                       Our healthcare certification process is trusted around
                                                                                       the wortd because it is rigorous and thorough. This
                                                                                       page details what we look for.




                                                                                       Registration & Compliance           Internal Practices         Extern a I Practices




                                                                                         We make sure your patient services or treatment practices are in compl iance with applicable laws.



                                                                                              7 . Affiliates                                                                                                   +




                                                                                                                                                                                                                                                  Exhibit 31
                                                                                                                                                                                                                                                 Page 1 of 5
                                                                                  Case 3:25-cv-00514-AB                                             Document 1-3                              Filed 03/26/25                             Page 3 of 6
                             https://www.legitscript.com/certification/healthcare-certification/standards/                                                                                                                                              November 14, 2024, 5:24 p.m. ET




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                                                                                      We make sure your patient services or treatment p ractices are in compl iance with applicable laws.



                                                                                          7. Affiliates
                                                                                             • A merchant's Affiliates must comply wrth all program standards. This means any person or entity that exercises control over or
                                                                                               participates in the business, including but not limited to, pharmacy, business or medical practice, website, staff, any associated
                                                                                               medical personnel, must not be affiliated with or control any other entity that violates these standards

                                                                                             • Affiliates are any individual, business, or entity who previously, currently, or is expected to have a commercial and/or professional
                                                                                               relationship with the applicant organization or its principals. For example, this includes but is not limited to supplying wholesalers,
                                                                                               co-owned companies, and partner pharmacies.




                                                                                          8. Patient Services
                                                                                             • For applicants with an internet presence, the website must display an accurate street address for any dispensing pharmacy or
                                                                                               pharmacies. In certain circumstances, pharmacies may post the address for their corporate headquarters. The pharmacy must
                                                                                               provide an accurate, readily accessible, and responsive phone number or secure mechanism via the website, allowing patients to
                                                                                               contact or consult with a pharmacist regarding complaints or concerns, or in the event of a possible adverse event involving their
                                                                                               medication.
                                                                                             • Where required by law, this Standard also requires that practitioners with an internet presence must display an accurate street
                                                                                               address and the identity and location of medical practitioners engaged in providing medical care or advice to patients on their
                                                                                               website.




                                                                                          9. Privacy
                                                                                             • The applicant must adhere to all privacy laws and regulations in the jurisdictions where they serve. For any applicant offering to
                                                                                               facilitate the dispensing of drugs to or within the US, the transmission of any information that would be considered Protected Health
                                                                                               Information (PHI) under the HIPAA Privacy Rule (45 CFR 164} must occur in accordance with HIPAA fe9Uirements. including the use of
                                                                                               Secure-Socket layer or ectuivalent technology fOI' the transmission of PHI, and for any on line transmissions. the applicant's website
                                                                                               must display a privacy policy that accords with the fe9Uirements of the 1-UPM Privacy Rule.




                                                                                          10. Validity of Prescription                                                                                                                   +


                                                                                          11 . Transparency                                                                                                                              +




                                                                                                                                                                                                                                                                         Exhibit 32
                                                                                                                                                                                                                                                                        Page 2 of 5
                                                                              Case 3:25-cv-00514-AB                                             Document 1-3                               Filed 03/26/25                               Page 4 of 6
                        https://www.legitscript.com/certification/healthcare-certification/standards/                                                                                                                                                 November 14, 2024, 5:24 p.m. ET




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                                                                                     9. Privacy                                                                                                                                     +


                                                                                     1 0. Validity of Pre scription
                                                                                        • The applicant or, if applicable, website shall dispense or offer to dispense prescription drugs only upon receipt of a valid
                                                                                          prescription, as defined below, issued by a per..on authorized to prescribe under applicable laws. A pharmacy must not distribute or
                                                                                          offer to distribute, and a practitioner must not prescribe or offer to prescribe, prescriptions or prescription drugs in a way that
                                                                                          violates the laws of the jurisdiction(s} they serve and must comply with all applicable telemedicine laws or regulations. A •valid
                                                                                          prescription .. is one issued pursuant to a legitimate patient-prescriber relationship .!IS defined by applicable Law. This requirement for
                                                                                          va lid prescriptions is dependent upon a showing that the prescribing and dispensing of the drug, as well as the location of the
                                                                                          patient, all occur or exist within a jurisdiction that has expressly authorized, by statute, regulation, or other applicable law, alternate
                                                                                          requirements for a valid prescription.




                                                                                     11. Transparency
                                                                                        • None of the applicant's business practices may engage in practices or extend offers that may deceive or defraud patients or the
                                                                                          public in any way, including but not limited to any material detail regard ing the pharmacy, pharmacy staff, medical practitioners,
                                                                                          prescriptK>fl drugs, or financial transactions. Failure to provide full and accurate information as requested, in LegitScript's sole
                                                                                          discretion, will result in denial. Applicants may undertake reasonable remedial action during the certification process without penalty.

                                                                                          An applicant's business practices may not pose a reputational risk to LegitScript o r the Legrt.Script Healthcare Certification program.




                                                                            Learn More About Becoming Certified




                                                                                                                                                                                                                                                                       Exhibit 33
                                                                                                                                                                                                                                                                      Page 3 of 5
                                                                                  Case 3:25-cv-00514-AB                                           Document 1-3                      Filed 03/26/25                           Page 5 of 6
                        https://www.legitscript.com/certification/healthcare-certification/standards/                                                                                                                                                November 14, 2024, 5:24 p.m. ET




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                                                                               Learn More About Becoming Certified




                                                                                   Healthcare Certification                            Fact Sheet                                 Process                                      Pricing                                    Certification Standards
                                                                                   Application Checklist
                                                                                                                                      The LegitScript Healthcare Certification    We don't cut corners on our process          LegitScript Certification pricing has      Our heahhcare certification process is
                                                                                                                                      fact sheet gives you a high-level           because we're dedicated to helping           three tiers, which are differentiated by   trusted around the world because it is
                                                                                   Ready to apply? Check out our
                                                                                                                                      overview of the program and addresses       compliant healthcare providers               the level of complexity in reviewing       rigorous and thorough.
                                                                                   application checklist prior to
                                                                                   submission to best prepare yourself for            common questions.                           demonstrate the highest quality of           and monitoring your healthcare
                                                                                   Certification.                                                                                 care. Here's what you can expect.            business.




                                                                                                                                                                                                                                                                           Exhibit 34
                                                                                                                                                                                                                                                                          Page 4 of 5
                                                                             Case 3:25-cv-00514-AB                    Document 1-3                   Filed 03/26/25           Page 6 of 6
                        https://www.legitscript.com/certification/healthcare-certification/standards/                                                                                       November 14, 2024, 5:24 p.m. ET




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